Case 1:17-cr-00101-LEK Document 980 Filed 04/23/20 Pagelof1 PagelD #: 8492

UNITED STATES COURT OF APPEALS F | L E D

FOR THE NINTH CIRCUIT APR 23 2020

MOLLY C. DWYER, CLERK
U.S. COURT OF APPEALS

 

 

In re: ANTHONY TROY WILLIAMS. No. 20-70994
D.C. No.
ANTHONY TROY WILLIAMS, 1:17-cr-00101-LEK-1
District of Hawaii,
Petitioner, Honolulu
V. ORDER

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF HAWAITL,

Respondent,
UNITED STATES OF AMERICA,

Real Party in Interest.

 

 

Before: MURGUIA, OWENS, and BENNETT, Circuit Judges.
Petitioner has not demonstrated that this case warrants the intervention of the
court by means of the extraordinary remedy of mandamus. See Bauman v. U.S.
Dist. Court, 557 F.2d 650 (9th Cir. 1977). Accordingly, the petition is denied.
Petitioner’s motion to proceed in forma pauperis (Docket Entry No. 2) is
denied as moot.

No further filings will be accepted in this closed case.

DENIED.

Case: 20-70994, 04/23/2020, ID: 11669871, DktEntry: 3, Page 1 of 1
